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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN


  TIMOTHY BOZUNG, individually and on behalf
  of all others similarly situated,             Case No. 22-cv-00304-HYJ-RSK

                                                Honorable Hala Y. Jarbou
                    Plaintiff,
                                                Magistrate Judge Ray S. Kent

        v.

  CHRISTIANBOOK, LLC f/k/a CHRISTIAN
  BOOK DISTRIBUTORS CATALOG, LLC,


                    Defendant.


                    PLAINTIFF’S BRIEF IN OPPOSITION TO
                 DEFENDANT’S MOTION TO DISMISS THE FIRST
                    AMENDED CLASS ACTION COMPLAINT
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          Plaintiff Timothy Bozung, individually and on behalf of all others similarly situated,

 submits this response in opposition to the Motion to Dismiss (ECF No. 19 (the “Motion” or

 “Mot.”)) the First Amended Class Action Complaint (ECF No. 11 (the “FAC”)) filed by Defendant

 Christianbook, LLC f/k/a Christian Book Distributor Catalog, LLC (“Defendant” or

 “Christianbook”).

     I.      INTRODUCTION

          Defendant moves to dismiss the FAC for failure to state a claim pursuant to Rule 12(b)(6),

 and as time-barred by the applicable statute of limitations. Both grounds for dismissal are

 completely without merit.

          The factual allegations of the FAC easily state a claim for relief for violation of Michigan’s

 Preservation of Personal Privacy Act (“PPPA”). Plaintiff alleges that Defendant sold, rented,

 exchanged, and otherwise disclosed its entire digital customer database – containing, inter alia, all

 of its customers’ (including Plaintiff’s) full names, the titles of written materials, sound recordings,

 or video recordings they purchased, and their home addresses – to various third parties. Plaintiff

 alleges when the disclosures occurred (prior to July 31, 2016 and within the six-year limitation

 period, including with the benefit of the tolling afforded by Governor Whitmer’s COVID orders).

 Plaintiff alleges the identities of several of the third parties to whom this sensitive personal data

 was disclosed during that time period (and discovery will undoubtedly reveal numerous more).

 Plaintiff’s allegations even recite the title, pricing information, subscriber counts, and other details

 of the publicly accessible “data card” used to advertise the sale of this trove of personal information

 during that pre-July 31, 2016 time period when the disclosures at issue occurred, and provide a

 screenshot of the way the same data card appears today. And Plaintiff specifically alleges that

 Defendant disclosed all of its customers’ personal information (including Plaintiff’s and every




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 Class member’s) during that time period. These factual allegations, which must be accepted as true

 for purposes of deciding the Motion, are detailed and robust, and go far beyond what Rule 8

 requires. Indeed, courts across the country in other PPPA publication cases have concluded that

 plaintiffs have stated plausible claims for relief under the statute based on substantially the same

 facts as alleged in the FAC. The FAC adequately states a claim for relief.

          Plaintiff’s claim is also timely under the applicable six-year limitation period set forth in

 Michigan Compiled Laws (“M.C.L.”) 600.5813. While Defendant contends that the three-year

 limitation period set forth in M.C.L. § 600.5805(2) applies, this argument is foreclosed by

 controlling Sixth Circuit precedent holding that all statutory claims under Michigan law are subject

 to the six-year period found in section 600.5813. Moreover, in the PPPA context specifically, three

 federal district courts in Michigan (including, most recently, this very Court) recently decided the

 exact same statute of limitation question presented in the Motion – uniformly holding that PPPA

 claims are subject to the six-year period found in section 600.5813 (not the three-year period found

 in 600.5805(2)). Those courts carefully considered and thoroughly rejected all of the same

 arguments for applying the three-year period that Defendant raises in the Motion here. This Court

 should adopt the reasoning of its prior opinion on the same issue, hold that section 600.5813’s six-

 year limitation period governs Plaintiff’s claim, and find that Plaintiff timely filed this action

 (which seeks to redress alleged disclosures of his and Class members’ personal information that

 occurred during the relevant pre-July 31, 2016 time period).

          The FAC states a claim for relief and was timely filed. The Motion should be denied.

    II.      FACTUAL ALLEGATIONS OF THE FIRST AMENDED COMPLAINT

          Defendant maintains a vast digital database comprised of its customers’ information—

 including their full names, the titles of written materials, sound recordings, or video recordings




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 purchased, and home addresses (collectively “Private Reading, Listening, and Viewing

 Information”). FAC ¶ 43.

        Defendant discloses its customers’ Private Reading Information to data aggregators and

 appenders, who then supplement that information with additional sensitive private information

 about each Defendant customer, including his or her age, gender, ethnicity, and religion. Id.

 Defendant then rents and/or exchanges its mailing lists – which include subscribers’ Private

 Reading, Listening, and Viewing Information identifying which individuals purchased

 subscriptions to particular written materials and particular audiovisual materials, and can include

 the sensitive information obtained from data aggregators and appenders – to other data aggregators

 and appenders, other consumer-facing businesses, non-profit organizations seeking to raise

 awareness and solicit donations, and to political organizations soliciting donations, votes, and

 volunteer efforts. Id. ¶ 44 (citing Ex. A).

        At various times during the pre-July 30, 2016 time period, Defendant disclosed Plaintiff’s

 Private Reading, Listening, and Viewing Information, which identified him as a purchaser of The

 Drop Box video and other video recording titles, in at least three ways. Id. ¶ 62. First, Defendant

 disclosed mailing lists containing Plaintiff’s Private Reading, Listening, and Viewing Information

 to data aggregators and data appenders, who then supplemented the mailing lists with additional

 sensitive information from their own databases, before sending the mailing lists back to Defendant.

 Id. ¶ 63. Second, Defendant disclosed mailing lists containing Plaintiff’s Private Reading,

 Listening, and Viewing Information to data cooperatives, who in turn gave Defendant access to

 their own mailing list databases. Id. ¶ 64. And third, Defendant rented and/or exchanged its mailing

 lists containing Plaintiff’s Private Reading, Listening, and Viewing Information – enhanced with

 additional information from data aggregators and appenders – to third parties, including other




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 consumer-facing companies, direct-mail advertisers, and organizations soliciting monetary

 contributions, volunteer work, and votes. Id. ¶ 65.

             By renting, exchanging, or otherwise disclosing Plaintiff’s Private Reading, Listening, and

 Viewing Information of Plaintiff and its other Michigan-resident customers during the relevant

 pre-July 30, 2016 time period, Defendant violated the PPPA. Id. ¶ 5. Plaintiff seeks $5,000.00 for

 himself and each Class member pursuant to PPPA § 5(a) and costs and reasonable attorneys’ fees

 pursuant to PPPA § 5(b). Id. ¶ 75.

      III.      THE PPPA

             In 1988, Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

 purchase, rental, or borrowing of certain materials,” by prohibiting companies from disclosing

 certain types of sensitive consumer information. H.B. No. 5331, 1988 Mich. Legis. Serv. 378

 (West).

             Subsection 2 of the PPPA states:

                    [A] person, or an employee or agent of the person, engaged in the
                    business of selling at retail, renting, or lending books or other
                    written materials, sound recordings, or video recordings shall not
                    disclose to any person, other than the customer, a record or
                    information concerning the purchase . . . of those materials by a
                    customer that indicates the identity of the customer.

 PPPA § 2 (emphasis added).

             Michigan’s passage of the PPPA established as a matter of law “that a person’s choice in

 reading, music, and video entertainment is a private matter, and not a fit subject for consideration

 by gossipy publications, employers, clubs, or anyone else for that matter.” Privacy: Sales, Rentals

 of Videos, etc., House Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989. See FAC, Ex.

 B.




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     IV.      ARGUMENT

           The factual allegations of the FAC state a claim for violation of the PPPA, and Plaintiff’s

 claim is timely. The Motion should be denied. 1

              A.    Plaintiff States a Claim for Violation of the PPPA

           The crux of the Motion is that “Plaintiff fails to state a plausible PPPA claim” because he

 “pleads no facts support[ing] his conclusory allegation that Christianbook disclosed any customer

 information at all during the pre-July 30, 2016 period of which he complains” and “he utterly fails

 to provide any factual support for the allegation that his information has been disclosed at all.”

 Mot. at 13. Both are wrong.

           “As relevant to this action, the Michigan [PPPA] prohibits a person, and an ‘employee or

 agent of the person,’ ‘engaged in the business of selling at retail . . . books or other written

 materials, [sound recordings, or video recordings]’ from ‘disclos[ing] to any person, other than the

 customer,’ ‘a record or information concerning the purchase . . . of those materials by a customer

 that indicates the identity of the customer.” Boelter v. Hearst Commcn’s, Inc., 269 F. Supp. 3d

 172, 177-78 (S.D.N.Y. 2017) (quoting PPPA § 2).



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   Defendant also contends that dismissal is appropriate under Fed. R. Civ. P. 12(b)(1) because
 “Plaintiff must allege the citizenship of each member of Christianbook in order to establish
 complete diversity between Plaintiff and Christianbook and invoke diversity jurisdiction.” Mot. at
 1 n.1. The argument is baseless, as Plaintiff has already explained. On July 8, 2022, the Court
 issued an Order to Show Cause on this issue (ECF No. 14). On July 13, 2022, Plaintiff filed a
 response to the Order to Show Cause explaining that under the Class Action Fairness Act, 28
 U.S.C. § 1332(d) (“CAFA”) “an unincorporated association shall be deemed to be a citizen of a
 State where it has its principal place of business and the State under whose laws it is organized.”
 28 U.S.C. § 1332(d)(10). And that rule also applies to limited liability companies. Hyman v. TV
 Guide Magazine, LLC, 2017 WL 4405009, at *2 (E.D. Mich. Oct. 4, 2017). Thus, Plaintiff has
 properly invoked the Court’s subject-matter jurisdiction pursuant to CAFA, even without alleging
 the citizenship of each of the members of the LLC Defendant. Notably, on July 18, 2022, the Court
 issued an Order finding that the Order to Show Cause was “satisfied” and that “dismissal of the
 case is not warranted at this time.” (ECF No. 20). In other words, the Court held that subject-matter
 jurisdiction was properly invoked under CAFA.


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        The factual allegations of the FAC firmly give rise to a claim for relief under the PPPA.

 The FAC specifically alleges that Defendant disclosed Plaintiff’s Private Reading, Listening, and

 Viewing Information to “data aggregators and data appenders, who then supplemented the mailing

 lists with additional sensitive information from their own databases, before sending the mailing

 lists back to Christianbook.” FAC ¶ 63. The FAC also specifically alleges that Defendant

 “disclosed mailing lists containing Plaintiff’s Private Reading, Listening, and Viewing

 Information to data cooperatives, who in turn gave Christianbook access to their own mailing list

 databases.” Id. ¶ 64. And the FAC specifically alleges that Defendant “rented and/or exchanged

 its mailing lists containing Plaintiff’s Private Reading, Listening, and Viewing Information –

 enhanced with additional information from data aggregators and appenders – to third parties,

 including other consumer-facing companies, direct-mail advertisers, and organizations soliciting

 monetary contributions, volunteer work, and votes.” Id. ¶ 65. The FAC alleges that Defendant

 disclosed its entire digital customer database (comprised of the Private Reading, Listening and

 Viewing Information of all of its customers, including Plaintiff and all Class members) to these

 third parties. Id. ¶ 7. The FAC alleges that these disclosures occurred during the relevant pre-July

 31, 2016 time period, and even alleges the identities of some of the third-party recipients of

 Defendant’s disclosures that occurred during that time period: “NextMark, Experian, Alterian, and

 Carney Direct Marketing[.]” Id. ¶¶ 1, 7. Finally, the FAC recites the title, pricing information,

 subscriber counts, and other details of the publicly accessible “data card” used to advertise the sale

 of this trove of personal information during that pre-July 31, 2016 time period when the disclosures

 at issue occurred, and provide a screenshot of the way the same data card appears today. Id. ¶¶ 2-

 4.




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        Numerous courts across the country, including in this District, have held such factual

 allegations sufficient to state a claim for a violation of the PPPA. See, e.g., Horton v. GameStop

 Corp., 380 F. Supp. 3d 679, 682 (W.D. Mich. 2018); Boelter v. Hearst Commcn’s, Inc., 192 F.

 Supp. 3d 427, 452 (S.D.N.Y. 2016); Perlin v. Time Inc., 237 F. Supp. 3d 623, 641-42 (E.D. Mich.

 2017); Moeller v. Am. Media, Inc., 235 F. Supp. 3d 868, 873 (E.D. Mich. 2017); Boelter v. Advance

 Magazine Publishers Inc., 210 F. Supp. 3d 579, 590 (S.D.N.Y. 2016); Ruppel v. Consumers Union

 of United States, Inc., 2017 WL 3085365, at *1 (S.D.N.Y. June 12, 2017).

        Rather than tackle that overwhelming weight of authority, Defendant attempts to recast the

 entire FAC as predicated solely on disclosures of Private Reading, Listening, and Viewing

 Information to a single data-broker named NextMark. This completely misses the mark. For one

 thing, the FAC identifies several third parties to whom Plaintiff’s and the Class’s Private Reading,

 Listening, and Viewing Information was disclosed by Defendant during the relevant pre-July 31,

 2016 time period – NextMark, Experian, Alterian, and Carney Direct Marketing. The FAC makes

 clear that these are but a handful of examples of recipients and resellers of this data, but by no

 means the only traffickers of such information. See FAC ¶¶ 63-65 (describing alleged disclosure

 pattern). Discovery will surely reveal many more. At this stage of the proceedings, however,

 whether Defendant in fact disclosed Plaintiff’s and the class’s Private Reading, Listening, and

 Viewing Information to NextMark and other data companies is a factual matter not susceptible to

 resolution on a motion to dismiss.

        Defendant next takes aim at the screenshot of the current, 2022 version of the NextMark

 “datacard” included in the FAC. See FAC 2 (screenshot of current datacard for “Christianbook

 Catalog Buyers Mailing List,” which identifies the list’s owner as “Christianbook (formerly

 Christian Book Distributors)”). According to Defendant, “what Christianbook may or may not




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 have disclosed to NextMark in 2022 says nothing about Christianbook’s treatment of customer

 data during the pre-July 30, 2016 period in which Plaintiff alleges his PPPA claim accrued.” Mot.

 at 14. This is incorrect. As the FAC explains:

                The same ‘datacard,’ with the same rates shown above, was also
                publicly advertised by Defendant during the relevant pre-July 31,
                2016 time period, with a slightly different title. Throughout the
                relevant pre-July 31, 2016 time period, NextMark and other list
                brokers, including SRDS, Inc., offered to provide renters access to
                the mailing list titled ‘Christian Book Distributors (CBD) Catalog
                Buyers,’ which contained the Private Reading, Listening, and
                Viewing Information of 1,407,451 customers of Christianbook
                (which as at the time was known as Christian Book Distributors,
                LLC, as explained . . . in paragraph 12 [of the FAC]) at a base price
                of $95.00/M per thousand (i.e., 9.5 cents apiece).

 Id. Thus, the FAC makes clear that, during the relevant pre-July 31, 2016 time period, Defendant

 publicly advertised its entire customer list for rental to third parties – in the same manner that it

 does now under its new name (as the current Nextmark datacard confirms) – and actually recites

 the title, listed subscriber count, and prices for renting Defendant’s entire customer database that

 appeared on the 2016 version of Defendant’s datacard. Id. ¶ 4. These factual allegations – that

 Defendant, under its prior name (Christian Book Distributors (CBD)), was actively advertising the

 sale of its entire customer database to third parties during the relevant pre-July 31, 2016 time period

 – plausibly demonstrate that Defendant disclosed its entire customer database (comprised of the

 Personal Reading, Viewing and Listening Information of all of its customers during the relevant

 pre-July 31, 2016 time period, including of Plaintiff and all Class members) to various third parties

 who rented it in response to the advertised data card.

        Defendant does not deny these allegations in the Motion. Rather, Defendant argues that

 these allegations lack any “facts that support extending any inferences about the 2022 ‘mailing

 list’ to Christianbook’s 2016 practices.” Mot. at 15. But again, the FAC alleges facts demonstrating




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 that the same datacard currently accessible on Nextmark’s website (as shown in paragraph 2 of the

 FAC) also existed in 2016 (as recited in paragraph 4 of the FAC), with all of the same rates and

 offerings except with a slightly different title reflecting the name that Defendant did business under

 at the time (before changing its name to Christianbook, LLC in connection with a merger). And

 the FAC specifically alleges that, “[d]uring the relevant pre-July 31, 2016 time period,

 Christianbook (then known as Christian Book Distributors, LLC) likewise rented, exchanged, or

 otherwise disclosed all of its customers’ Private Reading, Listening, and Viewing Information to

 data aggregators, data appenders, data cooperatives, and other third parties – including, without

 limitation, NextMark, Experian, Alterian, and Carney Direct Marketing – without the written

 consent of its customers.” FAC ¶ 7. The FAC further alleges that, as a result of Defendant’s

 disclosures of his information to third-party data and marketing companies during the relevant pre-

 July 31, 2016 time period, he “received a barrage of unwanted junk mail.” Id. ¶ 1. These factual

 allegations are well pled and must be accepted as true in deciding the Motion, and they plainly

 give rise to a plausible claim for relief under the PPPA.

        Indeed, the FAC is governed by the liberal Rule 8 pleading standard. Plaintiff is not

 required to prove his claim with “documents” or any other evidence at this time. He must merely

 allege facts plausibly demonstrating that Defendant violated the PPPA. See, e.g., Zimmerman v.

 3M Company, 542 F. Supp. 3d 673, 681 (W.D. Mich. 2021) (Jarbou, J.) (Rule 8 pleading standard

 was satisfied in class action where named plaintiffs alleged that they were exposed to purportedly

 harmful chemical in drinking water, without alleging “whether any PFAS ha[d] been detected in

 their drinking water, and if so, how much”). Plaintiff’s allegations, taken as true as they must be

 at this stage of the case, establish that Defendant’s entire customer list (containing the personal,

 PPPA-protected data pertaining to all of its customers, including Plaintiff and each Class member)




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 was publicly available for rental during the relevant pre-July 31, 2016 time-period, and that

 Defendant in fact rented and otherwise disclosed that entire customer list to various third-party

 purchasers throughout that same time period. See, e.g., FAC ¶¶ 4, 63-65. These allegations are

 more than sufficient to state a claim. See, e.g., Horton, 380 F. Supp. 3d at 682 (“Given that

 GameStop possessed the Game Informer subscription information and that NextMark purported

 to sell that information, the implication that GameStop disclosed the information to NextMark or

 other data-mining companies passes the threshold of plausibility”); Cain v. Redbox Automated

 Retail, LLC, 981 F. Supp. 2d 674, 685 (E.D. Mich. 2013) (Rosen, J.) (holding, in PPPA case, that

 at the motion to dismiss stage “this Court must take Plaintiffs’ allegations regarding the

 relationship between Defendant and its ‘unrelated’ vendors as true”).

        Defendant’s argument that “Plaintiff provides no factual support . . . for his speculative

 allegation that Christianbook actually disclosed his information at all,” fails for similar reasons.

 Mot. at 16. Again, the argument attempts to recast the entire FAC as alleging only disclosures to

 NextMark in 2022, rather than what it actually alleges occurred during the pre-July 31, 2016 time

 period – namely, disclosures to various data companies, including several specifically identified

 by name. As alleged in the FAC, Defendant disclosed its entire customer file (containing the

 Private Reading, Viewing, and Listening Information of all of its then-existing customers,

 including of Plaintiff and all Class members) to various data aggregators, data appenders, data

 cooperatives, and other third parties during the relevant pre-July 31, 2016 time period. FAC ¶¶ 63-

 65. Contrary to Defendant’s assertion, Exhibit A to the FAC (the 2022 datacard) further bolsters

 these allegations because the datacard in existence today, which the FAC alleges is substantially

 the same as datacard in existence in 2016 (although bearing a slightly different heading to reflect

 Defendant’s new name), indicates that Defendant is (and was in 2016) able to segregate customers




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 by “age,” “gender,” “Donor” status, and “Ethnic & Religious enhancements,” all information

 which is not collected through the purchasing process, but rather was appended by third party data

 companies after receiving from Defendant its entire customer file. FAC ¶¶ 2-3. Simply put, the

 FAC alleges that: (i) Plaintiff purchased The Drop Box video directly from Defendant; (ii)

 Defendant then disclosed, during the relevant pre-July 31, 2016 time period, Plaintiff’s Private

 Reading, Listening, and Viewing Information to data aggregators, data appenders, and/or data

 cooperatives, who supplemented that information with data from their own files; and (iii)

 Defendant then rented the enhanced mailing lists containing Plaintiff’s Private Reading, Listening,

 and Viewing Information to third parties, also during the relevant pre-July 31, 2016 time period.

 FAC ¶ 7. And the FAC alleges Christianbook did that for every customer. Id. ¶ 7 (“During the

 relevant pre-July 31, 2016 time period, Christianbook . . . rented, exchanged, or otherwise

 disclosed all of its customers’ Private Reading, Listening, and Viewing Information to data

 aggregators, data appenders, data cooperatives, and other third parties – including, without

 limitation, NextMark, Experian, Alterian, and Carney Direct Marketing – without the written

 consent of its customers.”) (emphasis added); ¶¶ 63-65 (describing same). Accordingly, because

 Plaintiff alleges he was a purchaser of a video from Christianbook, and because Plaintiff alleges

 Christianbook engaged in a uniform practice of disclosing its customer information to data

 companies and other third parties, it is more than plausible that his Private Reading, Listening, and

 Viewing Information was disclosed in that same manner.

        What Defendant really wants to do is turn the PPPA into a toothless tiger. The crux of this

 lawsuit is that Defendant failed to inform Plaintiff and the proposed class members that it would

 disclose their Private Reading, Listening, and Viewing Information to others and failed to obtain

 their consent prior to disclosing that Information to others. See generally FAC. Thus, under the




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 circumstances alleged in the FAC, Plaintiff and the unnamed class members cannot possibly be

 expected to allege the specific dates of disclosure or all of the entities to whom Defendant made

 these non-consensual, uninformed disclosures, absent a reasonable opportunity for discovery. By

 demanding such specificity in the Motion, Defendant asks the Court to adopt a pleading standard

 no PPPA plaintiff could ever satisfy, emasculating this important consumer protection statute and

 inoculating the company from liability under it in the process. This Court need not go along. 2

        The FAC states a claim, and the Motion should be denied.

            B.    Plaintiff Plausibly Alleges That Christianbook Disclosed Information
                  Prohibited by the PPPA

        Defendant also argues that “Plaintiff also fails to plead any facts that plausibly support his

 allegation that Christianbook disclosed the type of information prohibited from disclosure under

 the PPPA.” Mot. at 17. That is wrong. Plaintiff alleges that “[d]uring the relevant pre-July 31, 2016

 time period, Christianbook . . . rented, exchanged, or otherwise disclosed all of its customers’

 Private Reading, Listening, and Viewing Information to data aggregators, data appenders, data

 cooperatives, and other third parties – including, without limitation, NextMark, Experian, Alterian,

 and Carney Direct Marketing – without the written consent of its customers.” FAC ¶ 7. In other

 words, Plaintiff alleges what information was disclosed, when, and to whom. As Judge Rosen held

 in Cain, at this stage these allegations must be taken as true. See also In re Vizio, Inc., Consumer

 Privacy Litig., 238 F. Supp. 3d 1204, 1225 (C.D. Cal. 2017) (accepting allegations regarding types

 of information disclosed in a federal VPPA case as true at the motion to dismiss stage); Yershov v.

 Gannett Satellite Information Network, Inc., 820 F.3d 482, 486 (1st Cir. 2016) (same).



 2
   This is especially true where, as here, nearly six years have passed since the alleged unlawful
 conduct and the filing of the FAC. But, as this Court has already held and as explained below,
 claims brought within six years are timely under the PPPA. Thus, it would make no sense to gut a
 PPPA plaintiff’s ability to bring a timely claim by demanding such an exacting pleading standard.


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        Moreover, Plaintiff bolsters his allegations with the “mailing list” attached as Exhibit A to

 the FAC and the substantially identical 2016 version recited in paragraph 4 of the FAC, which

 indicate that Defendant sold, rented, and otherwise exchanged to third parties not just its

 customers’ names and addresses, but also myriad categories of additional information pertaining

 to each of its customers’ purchases, including how much money the customer spent and the

 “product” the customer purchased. FAC ¶¶ 2-4 & Ex. A. And by nature of the fact that the list is

 a “mailing list,” it can reasonably be inferred that it must include names and addresses. Id.

        Defendant’s citation to Wheaton v. Apple Inc., 2019 WL 5536214 (N.D. Cal. Oct. 25, 2019)

 is inapposite. In Wheaton, the plaintiffs alleged violations of the PPPA arising from disclosures of

 music purchase information made on their phones, and relied on an unnamed purported data

 offering to bolster their allegations. Id. at *4. The defendant in Wheaton denied that it was even

 responsible for disclosing the data that was offered for sale. Here, by contrast, Defendant does not

 even deny disclosing its customers’ data (including during the relevant pre-July 31, 2016 time

 period), and Plaintiff includes an offering titled “Mailing List” that was undeniably offered for sale

 publicly online by the Defendant to third parties and in fact sold by the Defendant to third parties,

 thereby plausibly alleging that the list includes identifying information of all of Defendant’s

 customers and information concerning each of their purchases of video recordings, sound

 recordings, or written materials. FAC ¶¶ 2-4. Moreover, Wheaton was limited to the purported

 data offerings, where as here, Plaintiff merely provides the datacards to bolster his allegations that

 Defendant disclosed its customers’ Private Reading, Listening, and Viewing Information to a

 variety of data companies. FAC ¶¶ 63-65. Wheaton is also the only decision that has ever been

 issued finding a PPPA plaintiff’s allegations insufficient to withstand a motion to dismiss, and

 Plaintiff respectfully submits that other courts’ decisions on this issue in PPPA cases (such as, e.g.,




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 Horton v. Gamestop) are better reasoned and more persuasive.

            C.     Plaintiff’s Claims Are Timely

        Defendant also argues that Plaintiff’s claim “is untimely under the three-year limitations

 period in Mich. Comp. Laws § 600.5805(2) . . . and should be dismissed.” Mot. at 19. But as this

 Court has already determined, “the six-year statute of limitations in Mich. Comp. Laws § 600.5813

 governs a PPPA claim.” Krassick v. Archaeological Institute of Am., 2022 WL 2071730, at *5

 (W.D. Mich. June 9, 2022) (Jarbou, J.). This Court’s decision in Krassick is well-reasoned and

 supported by Sixth Circuit and Michigan appellate authority. See Palmer Park Square, LLC v.

 Scottsdale Ins. Co., 878 F.3d 530, 540 (6th Cir. 2017) (holding that “§ 600.5813 applies to statutory

 causes of action, including those for civil fines”); DiPonio Constr. Co. v. Rosati Masonry Co., 631

 N.W.2d 59, 66 (Mich. Ct. App. 2001) (holding that “a civil cause of action arising from a statutory

 violation is subject to the six-year limitation period in § 5813, if the statute itself does not provide

 a limitation period”); Citizens for Pretrial Justice v. Goldfarb, 327 N.W.2d 910, 915 (Mich. 1982)

 (holding that § 5805 only “applies to traditional, primarily common-law torts”); Nat’l Sand v.

 Nagel Constr., Inc., 451 N.W.2d 618, 622 (Mich. Ct. App. 1990) (describing Goldfarb and stating

 that because “the plaintiffs’ injury was not the result of a traditional tort, it must fall under the

 residual six-year period of limitation contained in § 5813”). Moreover, every other court to

 consider this question has concluded that the six-year statute of limitations in § 5813 applies to

 PPPA claims. See Pratt v. KSE Sportsman Media, Inc., -- F. Supp. 3d --, 2022 WL 469075, at *5

 (E.D. Mich. Feb. 15, 2022) (Ludington, J.) (“A six-year statute of limitations applies to PPPA

 claims.”); Hall v. Farm Journal, Inc., Case No. 21-cv-11811, ECF No. 26, PageID.718, at 19:8-

 10 (E.D. Mich. Apr. 5, 2022) (Lawson, J.) (“The plaintiff’s claim is governed by Section 5813,

 and therefore, the claim appears to be timely for the purpose of this motion.”). Exhibit 1, transcript.




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         The Motion raises the same arguments that were rejected by this Court in Krassick and that

 were rejected by Judge Ludington in Pratt and by Judge Lawson in Hall. Mot. at 19-23.

 Specifically, Defendant argues that “Plaintiff’s PPPA claim . . . far from being a new right

 unrecognized by Michigan common law, is encompassed by traditional rights to privacy long-

 recognized by Michigan common law.” Mot. at 21-22. But as this Court held in Krassick,

 Plaintiff’s “injury to [his] right to privacy . . . is not a traditional common-law tort. Although such

 a right is ‘similar in kind’ to rights protected by the common-law tort of invasion of privacy, the

 right to privacy in one’s [audiovisual and] reading materials is nonetheless the creation of a statute;

 it did not exist under common law.” Krassick, 2022 WL 2071730, at *3. “Accordingly, because

 ‘[Plaintiff’s] injury was not the result of a traditional tort, [his claim] must fall under the residual

 six-year period contained in § 5813.’” Id. (quoting Nat’l Sand, 451 N.W.2d at 622). “Put another

 way, because [Plaintiff’s] ‘right to recovery’ ‘arises from a statute’ rather than a ‘a common-law

 right,’ the six-year limitation period applies.” Id. (quoting Nat’l Sand, 451 N.W.2d at 622 n.7).

         In sum, it is of no consequence whether Plaintiff’s PPPA claim “is encompassed by

 traditional rights to privacy long-recognized by Michigan common law.” Mot. at 22. What matters

 is whether the claim was a tort at common law. Here, it was not. The six-year statute of limitations

 in § 5813 therefore applies. See Purnell v. Arrow Fin. Servs., LLC, 2009 WL 1508340, at *2 (E.D.

 Mich. May 29, 2009) (“The mere fact that Plaintiff’s allegations may be, in some manner, shoe-

 horned into a common-law tort cannot control in light of clear direction that where ‘plaintiff’s civil

 cause of action [is] for … a statutory violation, [the court should apply] the six-year limitation

 period found in § 5813.”) (citing DiPonio, 631 N.W.2d at 66) (alterations in original).

             D.    Plaintiff’s Claims Were Tolled by Michigan’s COVID-19 Executive and
                   Administrative Orders Related to Statutes of Limitation

         Defendant argues that “[e]ven if Section 5813’s six-year period applied to Plaintiff’s



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 claims,” “Plaintiff’s Amended Complaint is [] subject to dismissal to the extent it complains of

 alleged PPPA violations occurring before March 31, 2016,” i.e., six-years before the date Plaintiff

 filed his initial Complaint. Mot. at 24. That is wrong. Plaintiff’s claims were tolled for 101 days

 from March 10, 2020, through June 20, 2020, by Governor Whitmer’s Executive Orders and the

 Michigan Supreme Court’s Administrative Order (together, the “COVID-19 Orders”) tolling the

 statute of limitations for all Michigan claims due to COVID-19. See Mich. Executive Order 2020-

 58 (“[A]ll deadlines applicable to the commencement of all civil and probate actions and

 proceedings, including but not limited to any deadline for filing an initial pleading . . . are

 suspended as of March 10, 2020 and shall be tolled until the end of the declared states of disaster

 and emergency.”) (emphasis added); Mich. Supreme Court Administrative Order 2020-3 (“For all

 deadlines applicable to the commencement of all civil and probate case types, including but not

 limited to the deadline for the initial filing of a pleading . . . any day that falls during the state of

 emergency declared by the Governor related to COVID-19 is not included.”) (emphasis added);

 see also Mich. Executive Order 2020-122 (ending tolling period on June 20, 2020); Mich. Supreme

 Court Administrative Order 2020-18 (same).

         Under Michigan law “the Governor’s action [in issuing an Executive Order] has the status

 of enacted legislation.” Straus v. Governor, 592 N.W.2d 53, 57 (Mich. 1999). “Pursuant to the

 Erie doctrine, state statutes of limitations must be applied by federal courts sitting in diversity.”

 Blaha v. A.H. Robins & Co., 708 F.2d 238, 239 (6th Cir. 1983). “Just as limitations periods are

 taken from state law, so are the rules regarding tolling.” Smith v. Hilliard, 578 F. App’x 556, 562

 (6th Cir. 2014) (citing Wallace v. Kato, 549 U.S. 384, 394 (2007)) (“We have generally referred

 to state law for tolling rules, just as we have for the length of statute of limitation.”). Thus, because

 the Erie doctrine requires this Court to apply Michigan statute of limitations and tolling rules, and




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 because the COVID-19 Orders have the same status as enacted legislation under Michigan law,

 the Court is compelled to apply the COVID-19 Orders and find that the statute of limitations as

 tolled from March 10, 2020, to June 20, 2020.

            Indeed, this Court and others have held that the COVID-19 Orders toll the statute of

 limitations for Michigan claims. See Bownes v. Borroughs Corp., 2021 WL 1921066, at *2 (W.D.

 Mich. May 13, 2021) (Jarbou, J.) (holding that plaintiff’s Elliot-Larsen Civil Rights Act claim was

 tolled from March 10, 2020, to June 20, 2020 by COVID-19 Orders); Mackey v. Rising, 2021 WL

 4034226, at *2 (E.D. Mich. Sept. 3, 2021) (holding same in § 1983 action); Bowles v. Sabree, 2022

 WL 141666, at *9 (E.D. Mich. Jan. 14, 2022) (same); see also Howard v. Onion, 2022 WL

 2065950, at *2 (6th Cir. May 17, 2022) (concluding same under Ohio law).

            Accordingly, Plaintiff’s claim was tolled for 101 days from March 10, 2020, to June 20,

 2020. Therefore, the applicable period is December 21, 2015, to July 31, 2016. 3

       V.      CONCLUSION

            For the foregoing reasons, the Motion should be denied in its entirety.

 Dated: August 12, 2022                           Respectfully submitted,

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     This period was calculated by subtracting 101 days from March 31, 2016.


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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 12, 2022, I electronically filed the foregoing documents

 using the Court’s electronic filing system, which will notify all counsel of record authorized to

 receive such filings.



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